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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

                v.
                                                                      Criminal No. LKG-22-7
 MARILYN J. MOSBY,

                           Defendant


                         UNITED STATES’ OPPOSITION TO MOTION OF
                          ALL SIX DEFENSE COUNSEL TO WITHDRAW

         The United States of America, by its undersigned counsel, submit this opposition to the

motion made by all six (6) of the Defendant’s counsel to withdraw. ECF 174. All six (6) defense

counsel have not shown good cause to withdraw. Therefore the motion should be denied. 1

          “The decision to grant or deny an attorney's motion to withdraw is committed to the

discretion of the district court.” Abbott v. Gordon, Civ. No. DKC-09-0372, 2010 WL 4183334, at

*1 (D. Md. Oct. 25, 2010) (citing Whiting v. Lacara, 187 F.3d 317, 320 (2d Cir. 1999)); Mahdy v.

Morgan State Univ., No. CV SAG-20-2715, 2022 WL 899277, at *2 (D. Md. Mar. 28, 2022). Rule

201 of this Court provides that “counsel for a defendant may withdraw their appearance only with

leave of court …” Local Rule 201. This court applies the Maryland Rules of Professional Conduct

(“MRPC”) as they have been adopted by the Maryland Court of Appeals. Local Rule 704. Nichols

Agency, Inc. v. Enchanted Child Care, Inc., 537 F. Supp. 2d 774, 778 (D. Md. 2008). Maryland


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            The Government also notes that the motion to withdraw is also procedurally defective since it fails to comply
with Local Rule 101.2(a), which requires that “appearance of counsel may be withdrawn only with leave of court and
if (1) appearance of other counsel has been entered, or (2) withdrawing counsel files a certificate stating (a) the name
and last known address of the client, and (b) that a written notice has been mailed to or otherwise served upon the
client at least seven (7) days previously advising the client of counsel’s proposed withdrawal and notifying the client
either to have new counsel enter an appearance or to advise the Clerk that the client will be proceeding without
counsel.” No appearance of other counsel has been entered, and the motion does not contain the required certificate.
The filing merely states that “undersigned has shared a draft of this motion with the Defendant, Ms. Mosby, who has
authorized him to state that she agrees and requests that the Court grant the withdrawal.” Since the filing is signed by
all six counsel, it is further unclear who the “him” refers to above.
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Rule of Professional Conduct 19-301.16 governs declining or terminating representation and

“provide[s] a benchmark for when withdrawal may be permitted.” Abbott, 2010 WL 4183334, at

*1. Subsection (b) states as follows:

       Except as stated in paragraph (c) of this Rule, an attorney may withdraw from
       representing a client if:
       (1) withdrawal can be accomplished without material adverse effect on the interests
       of the client;
       (2) the client persists in a course of action involving the attorney’s services that
       the attorney reasonably believes is criminal or fraudulent;
       (3) the client has used the attorney's services to perpetrate a crime or fraud;
       (4) the client insists upon action or inaction that the attorney considers repugnant
       or with which the attorney has a fundamental disagreement;
       (5) the client fails substantially to fulfill an obligation to the attorney regarding
       the attorney’s services and has been given reasonable warning that
       the attorney will withdraw unless the obligation is fulfilled;
       (6) the representation will result in an unreasonable financial burden on
       the attorney or has been rendered unreasonably difficult by the client; or
       (7) other good cause for withdrawal exists.

Mahdy v. Morgan State Univ., No. CV SAG-20-2715, 2022 WL 899277, at *2 (D. Md. Mar. 28,

2022). None of the first six circumstances under Rule 19-301.16 apply and defense counsel have

failed to establish “other good cause” to withdraw.

   A. The Government Does Not Object to Mr. Bolden Withdrawing in Light of His
      Unprofessional and Uncivil Behavior in this Case

       At the outset, the Government notes that while none of the defense counsel have

demonstrated good cause to withdraw as discussed in more detail below, the Government would

not object to Mr. Bolden withdrawing in light of his behavior during the pendency of this case.

The Government is confident that the matter would be handled in a more professional and civil

matter by any of the other five attorneys that represent the Defendant. If the Court entertains

allowing Mr. Bolden to withdraw, the Government requests that the Court conduct a colloquy with

the Defendant, or refer this matter to a United States Magistrate Judge to do so, where the

Defendant is asked to waive any appellate arguments or arguments in a petition pursuant to Title

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28, United States Code Section 2255, that her Sixth Amendment right to counsel has been infringed

by the contempt proceedings against Mr. Bolden. If the Defendant declines to make such a waiver,

the Government requests that the Court not allow Mr. Bolden to withdraw in light of the fact that

he has not shown good cause to do so.

    B. Mr. Bolden and the Other Reed Smith Lawyers Do Not Have a Conflict At This Time

        In their motion, defense counsel write that “In ECF 172 this Court issued a Memorandum

Opinion with respect to Counsel.” Mot. at 1. That is not accurate. The Court’s memorandum

opinion referenced Defense Counsel Bolden alone and does not reference any of the other Reed

Smith lawyers or the firm itself or Mr. Proctor or Mr. Outlaw. Defense counsel also write that

“counsel believes Mr. Bolden, Mr. Qureshi, Mr. Todd and Ms. Miller (all of whom are employed

by the same law firm) have a conflict, may represent Ms. Mosby no further and must immediately

move to withdraw from this matter,” citing Maryland Rule of Professional Conduct 19-301.7(a)(2),

but fail to even articulate what that conflict is and how it applies to each Reed Smith lawyer.

        It is the trial court’s “obligation to foresee problems over representation” that result from

conflicts of interest under the rules of professional misconduct. United States v. Howard, 115 F.3d

1151, 1155 (4th Cir. 1997); Wheat v. United States, 486 U.S. 153, 158-159 (1988). “To meet [its]

obligation, a court that learns of a possible conflict ‘must investigate the facts and details of the

attorney's interests to determine whether the attorney in fact suffers from an actual conflict, a

potential conflict, or no genuine conflict at all.’” United States v. Brodnik, 710 F.Supp.2d 526,

561 (S.D. W.Va. 2010); United States v. Rogers, 209 F.3d 139, 143 (2d Cir. 2000), quoting United

States v. Levy, 25 F.3d 146, 153 (2d Cir. 1994). Such an inquiry reveals that there is “no genuine

conflict at all.”

        Maryland Rule 19-301.7(a)(2) provides as follows:


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        (a) Except as provided in section (b) of this Rule, an attorney shall not represent a
        client if the representation involves a conflict of interest. A conflict of interest exists
        if:
                                                  ***

        (2) there is a significant risk that the representation of one or more clients will be
        materially limited by the attorney’s responsibilities to another client, a former client
        or a third person or by a personal interest of the attorney.

MD R ATTORNEYS Rule 19-301.7. None of these circumstances apply at this time.

        On January 17, 2023, the Court issued an order finding that:

        … Defense Counsel Bolden VIOLATED Local Rule 204 by:
              (1) Disclosing confidential responses to the Court’s juror questionnaire in
                  the Defendant’s September 29, 2022, Filing;
              (2) Making certain extra-judicial statements during a press conference held
                  on September 14, 2022; and
              (3) Using profanity during the September 14, 2022, press conference.

              The Court also finds that Defense Counsel Bolden VIOLATED Local Rule
        201 by submitting the September 29, 2022, Filing without the signature of
        Maryland Defense Counsel.

ECF 173 (emphasis in original). As noted above, these findings were made as to Defense Counsel

Bolden alone and not as to Mr. Qureshi, Mr. Todd or Ms. Miller. Further, neither Mr. Qureshi nor

Ms. Miller signed the September 29, 2022, filing (and nor did Mr. Outlaw or Mr. Proctor, both of

whom will be addressed later in this opposition). Similarly, only Mr. Bolden made extra-judicial

statements at a press conference on September 14, 2022, and only Mr. Bolden used profanity at

that press conference. Based on these findings the Court has ordered that during the pendency of

this matter:

   1.       Defense Counsel Bolden SHALL NOT file any filings in this matter unless the filing
            is also signed by a Defense Counsel who is an active member in good standing of the
            Bar of this Court.
   2.       Defense Counsel Bolden SHALL NOT present argument to the Court unless a Defense
            counsel who is an active member in good standing of the Bar of this Court is also
            present at any court proceedings.




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ECF 173. Again, these orders are specific and personal to Defense Counsel Bolden alone. And

none of them create a conflict between Mr. Bolden and the Defendant because all they do is enforce

the Court’s local rules.

       The Court further noted in the Order that “Local Rule 204.6 provides that any violation of

this Rule may be treated as a contempt of court and may subject the violator to disciplinary action

of the Court.” Id. The Court has determined, applying Cromer v. Kraft Foods North America,

Inc., 390 F.3d 812, 821 (4th Cir. 2004), that “any finding of contempt based upon Defense Counsel

Bolden’s violations would involve the imposition of criminal contempt sanctions” and, as a result,

“Defense Counsel Bolden will be afforded notice of the alleged violations, an opportunity to be

heard, and the protections the Constitution requires, before the Court imposes any criminal

contempt sanctions.” Id. at 1-2. Defense Counsel Bolden is the only defense lawyer representing

the Defendant that the Court referenced. Finally, the Court then ordered that:

              Defense Counsel Bolden shall SHOW CAUSE, in writing, on or before
       January 31, 2023, as to why the Court should not:
        (1) Impose criminal contempt sanctions;
        (2) Make a criminal referral to the United States Attorney’s Office for this District
            pursuant to Fed. R. Crim P. 42; and/or
        (3) Revoke Defense Counsel Bolden’s pro hac vice admission in United States v.
            Marilyn J. Mosby, 22-cr-0007.

Id. at 2. Again, none of the other Reed Smith attorney have been ordered to show cause. And at

this point, the Court has not taken any of the three actions it identifies and may not.

   C. Any Conflict That May Arise Would Be Personal to Mr. Bolden and Not Imputed to
      the Other Reed Smith Lawyers.

       Of the three options that the Court is considering quoted above, only item number 2 would

create a conflict for Mr. Bolden. But that conflict would not be imputed to his firm and, as a result,

to Mr. Qureshi, Ms. Miller or Mr. Todd. Rule 19-301.10 outlines when a conflict is imputed to a

firm. Specifically, it provides that:

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       While attorneys are associated in a firm, none of them shall knowingly represent a
       client when any one of them practicing alone would be prohibited from doing so by
       Rules 19-301.7 (1.7) or 19-301.9 (1.9), unless the prohibition is based on a
       personal interest of the prohibited attorney and does not present a significant
       risk of materially limiting the representation of the client by the remaining attorneys
       in the firm.

MD R ATTORNEYS Rule 19-301.10 (emphasis added). Based on the Court’s rulings, quoted

above, any conflict, which has not yet arisen, would be personal to Mr. Bolden alone. Further, if

he is subject to a criminal referral to the United States Attorney’s Office for this District, such a

referral would not “present a risk of materially limiting the representation of the client by the

remaining attorneys in the firm,” because none of the other Reed Smith attorneys have been found

to have violated any of the Court’s local rules and therefore would not be subject to a referral. And

none of the other Reed Smith attorneys in this case have been ordered to show cause as to why

they should not be found in criminal contempt. Therefore, there is no reason, let alone a “present

risk” why their representation of the Defendant would be materially limited by the contempt

proceeding against Mr. Bolden, which the Court has indicated shall occur in a separate proceeding.

   D. Neither Mr. Proctor Nor Mr. Outlaw Have Shown Good Cause Why the Court
      Should Grant their Motion to Withdraw

       As to Mr. Proctor, he has not shown good cause to support his request to withdraw. The

defense motion says that his role in this matter has “at all times been limited and his commitments

in his other cases and limited support resources prevent him from taking lead counsel

responsibility.” Mot. at 2.    The Government notes that nothing in Mr. Proctor’s notice of

appearance filed June 1, 2022 limits his appearance in this matter. Moreover, he represented the

Defendant in Court as recently as last week. Mr. Proctor is an extremely experienced trial lawyer

who has tried a number of complex and serious cases in this District. The fact that Mr. Proctor

can’t serve as “lead counsel,” is not good cause to withdraw. He doesn’t have to become “lead



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counsel”; he can continue in the role he is in and Mr. Qureshi or Ms. Miller, both of whom are

partners, like Mr. Bolden at Reed Smith, can become lead counsel. According to the biographies

on Reed Smith’s website make clear that both Mr. Qureshi and Ms. Miller are just as capable, if

not more capable, than Mr. Bolden to serve as lead counsel in this matter. 2




       2
        Mr. Qureshi’s biography on the Reed Smith website says the following about him:
       Rizzy represents corporations and individuals facing difficult legal and reputational
       crises in government investigations, criminal and regulatory proceedings, and
       related civil litigation. A seasoned trial lawyer and accomplished litigator, Rizzy
       has tried over 30 cases and has successfully represented clients facing complex
       investigations with the Department of Justice and other domestic and international
       regulators.

       As a former federal prosecutor, Rizzy has a unique understanding of the legal,
       business, and reputational risks clients face when even the suggestion of their
       involvement in a criminal investigation is made public. His commitment to getting
       to know his clients combined with his aggressive, multifaceted approach and
       tenacious attitude are why corporations and high-profile individuals trust Rizzy to
       navigate them through crises and achieve advantageous outcomes, whether that be
       an early case dismissal or a resolution on favorable terms.

See https://www.reedsmith.com/en/professionals/q/qureshi-rizwan-a (last viewed by author on
1/20/2023). Ms. Miller’s biography says the following:
       Kelley C. Miller is a partner with Reed Smith, resident in the firm’s Washington,
       D.C. office. Her practice focuses on navigating her clients – publicly traded Fortune
       25 companies, billion dollar privately held companies, and high-net-worth owners
       of successful closely held entities – through complex federal and state tax planning,
       estate and gift planning, and tax controversy matters. She routinely represents
       clients in difficult audits and examinations before the Internal Revenue Service,
       including representation before administrative appeals, and, when necessary,
       litigation of federal and state tax cases in the federal courts and, particularly, the
       United States Tax Court. Kelley has represented corporations, partnerships, and
       individuals in all phases of state and federal civil tax controversy, and has advised
       clients on both civil and criminal tax implications. She has appeared before the
       Internal Revenue Service, the New Jersey Tax Court, the D.C. Office of Tax and
       Revenue, the U.S. Tax Court, U.S. district courts, and the U.S. Courts of Appeals
       for the Fourth and Federal Circuits.

       In addition to being nationally recognized for her expertise in federal tax
       controversy and planning, Kelley routinely advises clients in the cannabis space on
       issues related to COGS, IRC Section 261, and represents clients before the Internal
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       The fact that Mr. Outlaw is a full-time professor does not give him good cause to withdraw

either. He was a full-time professor when he entered his appearance on June 1, 2022, and, like

Mr. Proctor’s, his appearance was not limited in any way. He has been participating in this case

ever since, including arguing a motion before this Court on September 14, 2022. While he writes

that his “duties” as a law professor and “limited support resources” preclude him from serving as

“lead counsel,” in this matter, like Mr. Proctor he obviously does not need to serve as lead counsel.

Instead he can and should continue to participate along with the other four (4) lawyers on this case,

Mr. Qureshi, Ms. Miller, Mr. Todd and Mr. Proctor. Again, Mr. Qureshi or Ms. Miller, both of

whom like Mr. Bolden are partners at Reed Smith, could serve as “lead counsel.” And just

yesterday Mr. Outlaw told the Baltimore Sun that, despite the fact that he is attempting to

withdraw, he has told the Federal Public Defender’s Office that “if they need any help from me,

all they need to do is ask.” See https://www.baltimoresun.com/news/crime/bs-md-ci-cr-marilyn-

mosby-defense-lawyers-ask-to-be-removed-20230119-m2a55dl5wbcz5gw4ycayvkx36q-

story.html (last viewed by author on 1/20/2023). If that is the case, Mr. Outlaw does not have



       Revenue Service in audit and examinations relating to these matters, as well as
       Section 280E and post-Harborside planning.

       In addition to her federal and state tax planning and controversies practice, Kelley
       is part of the Reed Smith COVID-19 response team, addressing federal tax matters
       arising from the U.S. government’s response to the corona virus.

       Kelley is a nationally recognized federal tax attorney who has guided her clients
       through challenging matters such as disclosure of offshore accounts and unreported
       income from assets including cryptocurrency. She is also a leading expert on the
       litigation of complex estate and gift tax controversies involving the Internal
       Revenue Service, including serving as lead counsel in Estate of Clara M.
       Morrissette v. Commissioner (USTC Docket No. 4415-14), and currently
       represents a host of tax-exempt organizations including both foundations and public
       charities.
See https://www.reedsmith.com/en/professionals/m/miller-kelley-c (last viewed by author on
1/20/2023).
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good cause to withdraw. And if he can help the Federal Public Defender, then he can continue to

help the other counsel in this case, as he has done to date, while also meeting his professional

responsibilities as a law professor.

       The Government also notes that in the proposed voir dire submitted by the parties, ECF

167, the defense has identified another full-time law professor, Ronald S. Sullivan, who teaches at

Harvard Law School, as someone who represents the Defendant. Specifically, the proposed voir

dire asks whether potential jurors if they know “Counsel for Ms. Mosby, attorneys A. Scott Bolden,

Rizwan A. Qureshi, Kelley C. Miller, Anthony R. Todd, or Ronald S. Sullivan, Lucius Outlaw,

or Gary Proctor?” Even if Mr. Bolden were to withdraw, the addition of Mr. Sullivan would keep

the defense team at six (6) lawyers, an astonishingly large defense team for a single defendant case

with charges and evidence that is not complicated.

   E. This is Not a Case That needs Six Defense Lawyers; A Combination of the Remaining
      Five (or Six) Defense Lawyers is More than Capable of Trying It

       And the latter point bears repeating. This is not a complicated case. The Defendant is

charged with committing perjury on two occasions when she certified that she had experienced

one of four “adverse financial consequences” stemming from COVID-19, namely

       a.      “Being quarantined, furloughed, or laid off;”
       b.      “Having reduced work hours;”
       c.      “Being unable to work due to lack of child care;” or,
       d.      “The closing or reduction of hours of a business I own or operate.”

Superseding Indictment Count One ¶¶ 4 & 5 (ECF 23). The proof that she did not isn’t

complicated. Payroll records from the City of Baltimore, among other evidence, establish that she

didn’t experience the first three adverse financial consequences. And her own public statements,

among other evidence, demonstrate that she did not experience the fourth. See Motion to Exclude

Defendant’s Experts at 19-20 (ECF 163). While the expert defense counsel has hired is prepared


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to offer opinions about the Defendant’s non-operational travel business, Mahogany Elite, those

opinions are inadmissible and should be excluded for the reasons articulated in the Government’s

motion to exclude.

       The Defendant is also charged with two counts of making false statements in a residential

mortgage application related to the purchase of two separate vacation properties in Florida. The

proof that she made false statements on those applications is also not complicated.

       In sum, this is not a case involving sophisticated financial transactions, multiple defendants

or complex charges. It is a case of single defendant lying on four separate occasions about her

personal finances in order to buy two houses in Florida. Given the fact that the charges and the

evidence in this case are not complicated and that the case is in a late stage, just 60 days before

trial and after extensive pretrial litigation, any one of the four experienced attorneys who have

been working on this case for months if not longer, Mr. Qureshi, Ms. Miller, Mr. Outlaw or Mr.

Proctor, could try this case on his/her own. But they don’t have to because they have each other,

and Mr. Todd, and can distribute the work among themselves.

   F. Allowing All Six Defense Counsel to Withdraw Would Inevitably Lead to Another
      Continuance Request

       The practical effect of the withdrawal of all the lawyers who have worked on this case will

be to necessitate yet another continuance, the third one defense counsel would have caused. We

are two months from trial. Both sides have filed numerous pretrial motions to which responses

are due on January 23, 2023, with replies due on February 6, 2023. It seems highly unlikely that

the Office of the Federal Public Defender or any other attorney would be able to keep this briefing

schedule or to prepare for trial in the next 60 days. And the public will, again, be denied their

interest in a speedy trial of the Defendant. And if a continuance is not granted and the Defendant

is convicted, that will embed an issue in this case upon which she may seek to reverse any

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conviction on direct appeal or collaterally attack any conviction through the filing of a petition

pursuant to Title 28, United States Code Section 2255.

   G. Conclusion

          For the foregoing reasons, the motion of all six (6) defense counsel to withdraw should be

denied.

                                                Respectfully submitted,

                                                        EREK L. BARRON
                                                        UNITED STATES ATTORNEY

                                                 By:    _________/s/______________
                                                        Leo J. Wise
                                                        Sean R. Delaney
                                                        Aaron S.J. Zelinsky
                                                        Assistant United States Attorneys


                                       CERTIFICATE OF SERVICE

          I hereby certify that this filing was served on the Defendant via ECF electronic filing.

                                                        _________/s/______________
                                                        Leo J. Wise
                                                        Assistant United States Attorney




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